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To the Honorable Court:

My name is , a long-time friend of Mr. Zev Steen. Zev has been a friend of mine
for over 25 years, dating back to my high school days. We attended the same school- Ner Israel
Rabbinical College. He has always been friendly and helpful for as long as | have known him,
When | entered high school in the ‘90s, it was challenging for me as a young freshman to keep
up with the rigorous work and study schedule in the new high school | was attending. Zev
devoted time to me every week, helping me with my studies and assisting with the preparation
for the weekly Friday exam. He did this all on a volunteer basis, something that most would
easily charge a hefty hourly rate for. He served as a mentor to me, someone | could openly talk
to about any struggles | was facing. He gave me as much time as | needed to speak things over.

Zev has also been beneficial to me in the area of technology, for both personal and
business matters. Whether it was asking him about which filters can be installed on my
Chromebook or if | had questions about a computer part | was selling, he always got back to me
in an efficient manner, responding in his typical humble fashion. When | started getting involved
in e-commerce, Zev was always a person | could turn to for tips and advice on how to navigate
the choppy waters of the online marketplaces.

He also took the time to advise me about my current place of employment, Star-K
Kosher Certification, where he was a former employee. All of my colleagues have nothing to say
but praise about the time he spent at the Star-K and about the various innovations he
introduced at the office. For instance, one of the elderly women in the office needed help with
stacking cups in a cabinet that was designated for office supplies. Zev designed a way to help
her get the most efficiency out of the limited space she had, creating a system so the cups don't
fall out and injure her in any way when she needed to open the cabinet. This is just one of the
many enhancements he introduced at the office.

Please let me know if there is any more information | can provide you with.

Sincerely,
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To The Honorable Court, :
My name is RG and | have Known Zev
Steen since we were in Ner Israel High School
together.| have always found Zev to be a warm and
caring person always wanting to help other people.
We both attended the same synagogue and sat on
the board together. It always struck me how far Zev
would go even when he strongly disagreed with
someones opinion to say so in a nice gentle way so
their feelings wouldn’t be hurt.. A different time, on a
Saturday night Zev was taking his family out for
pizza ‘and'someone walked.up.to his house needing
some: technological. help: with their son's phone
saying he was leaving town: and really needed it: Zev
remained very calm, asking his family to wait for a
little bit while he helped fix the phone so the mother
could let her son travel with peace of mind.

| volunteer for an organization and needed
software on my phone so that | could access their
remote deposit system and my phones filter was not
allowing it. | called Zev and even though it has
nothing to do with him he took an hour of his
‘personal time:and made multiple phone calls until
the problem‘was resolved.When | tried thanking him
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he told me that it is a privilege to help other people
especially when its helping the community. | believe
Zev is one of those selfless people who truly cares
about other people and would do whatever he could
to help without expecting anything in return. | have
been in the house and | always noticed how patient
he was with his children as well and even when he
was extremely busy he never rushed them.He would
cook with them in the kitchen as well as teach them
computers so they could understand how it worked
not just him doing it for them. | know very well myself
what work pressure feels like and watching him
reminded me how important our kids are and how
valuable the time we invest with them is. | hope |
conveyed to the court that | consider Zev not just a
friend but a role model of what a father/community
person should be.

Respectfully,
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The Honorable Court,

| have known Mr. Zev Steen for approximately 18 years. My connection to him is in two
ways. | taught his son in elementary schoo! and have interacted with Zev during parent
teacher conferences and on the phone. Also, | have interacted with Zev within the
Jewish community and have benefited personally from his time and help.

As far as Zev being a parent, Zev has spent considerable time discussing how his child
was doing and put forth significant effort to help his child grow in his academic skills in
school. In all my conversations with him, his care and concern were evident for his
children and their consistent growth.

Zev has used his skills to serve the community for many years. He gave hours upon
hours of his time for many years toward projects in the community. He always gave up
his time and efforts for every single person who came forth to ask for help. He was very
organized but at the same time would stop what he was doing to help someone if they
needed it. | personally benefited from his guidance in putting quality filters on my home
computers and cell phones. | found his advice well balanced. He answered my phone
calls when | called him. In addition, he stopped what he was doing when | was in a
pinch and needed help, to help me. It appeared to me from his involvement in different
projects in the community that he provided this help and services to a lot of other people
throughout the community.

Sincerely

Shlomo Wiener

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Mordechai Shuchatowitz 6107 Greenspring Ave.
RAV Baltimore, MD 21209
info@aigreenspring.com
Zvi Guttman 443-802-8559
SHUL PRESIDENT ’
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TO: The Honorable Court
RE: William (Zev) Steen
DATE: June 29, 2023

Honorable Court
Please accept this letter in support of Mr. Steen.

By way of introduction, in addition to serving as the Rabbi of my Congregation, I am also
the Chief Rabbinic Judge of the Baltimore Bais Din. I have been privileged to serve our
community and many hundreds of its members in both of these capacities for over 30
years now, thank G-D,

More directly relevant to this matter, though, is a third position in which I try to serve our
community, and that is as Rabbinic Counsel to the Bnos Yisroel School for Girls,

wherein Mr. Steen was employed as a STEM teacher in the High School division.

I maintain frequent communications with the principal of the High School, and respond,
often on a daily basis, to questions that he has in dealing with students. Additionally, |
meet with the administrators and school counselors when issues arise concerning students

and\or staff members.

I can attest from within the school administration that Mr. Steen taught the girls in all of
his classes in an exemplary manner, interacting with them throughout his tenure in a
professional and totally appropriate and respectable fashion. Never did we hear any
complaint from either a student or another staff member regarding any interaction with

Mr. Steen. To the contrary, they respected him just as he respected them.
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I have also been privy to see Mr. Steen acting a caring and responsible parent.

A number of times when one of his daughters who was a student in the school was
experiencing certain difficulties at school, he and his wife asked to meet with me to
discuss what she was going through, and to seek guidance on how best to support her in
dealing with her situation. Mr. Steen followed up with me himself afterwards and

updated me until the situation was resolved satisfactorily.

Notwithstanding the issues that are currently before the Court, which are beyond me to
comment upon, I see Mr. Steen as essentially an upstanding and respectable person who
has devoted much of his time and talents to the public good, such as being a lead
volunteer in the TAG service organization, in addition to his teaching as mentioned

above,

Although that it is understood that all this and more does not absolve responsibility for
whatever the Court finds that he has done, it should also be understood that such
misdeeds do not negate the essential goodness of the individual, nor do they cancel out

the good that he has done for many.

I trust that the Court will weigh these considerations justly and equitably, and I thank the

Court in advance for their consideration.
Most respectfully,

MI

Rabbi/M. Shuchatowi
Agudath Israel Congregation
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7/4/2023

To Whom It May Concern,

My name ‘iii | have been Zev Steen’s neighbor for around 15 years.

He has always been a willing and able friend to lend a hand.

if | ever need a tool or extra folding table, he would be my go-to.

| actually have an allen wrench or 2 upstairs that | need to return to him.

if i had an issue with my smart phone or computer, | would also go to Zev knowing that If he could help
me he would without hesitation.

There is a young man in my community that was friendly with my son when growing up.

At that time, he was living with his divorced mother and needed a father figure.

Many times, on a Sunday- when schools were out, | would see this boy joining the Steen family on their
trips to parks and outings. Zev was always caring for his family but also for a non-family member who
could use some additional TLC.

That boy is now a productive member of the community, and a caring husband

and father.

if | can be of any assistance to Zev and his family, please call rue I

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Sincerely,

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June 28, 2023
The Honorable Court

Dear Honorable Court,

| am writing on behalf of Zev Steen. | am a business consultant and run a not-for-profit that helps families
understand how to budget and deal with financial challenges once the occur. | have interacted with Zev
and his family in both areas.

| have known Zev for more than 15 years. | met him initially when he was underemployed at Star-K as an
IT support person and then through his startup Sequel, his key chain business, Fat Owls and MiragelD. |
encouraged him to leave his job and pursue something else because his position had no growth potential.

In my extensive experience with Zev, he is absolutely a “do the right thing” kind of guy, meaning that |
could trust him with my eyes closed (if he did something where we were on opposite sides of thing, |
would let him take the lead and not even verify that my position was being protected). When | lent money,
| signed a promissory note that he wrote, and | did not send it for legal review. Something | would never
do with other parties. Ever.

Through Zev's most recent work with the TAG organization, he expressed pride in how well the
organization progressed and their mission being accomplished. This is an organization whose goal is to
“not have things happen” so it is hard to measure outcomes, but rather only capable of measuring
process (signups etc.) Given the challenges people have with exposure to untoward digital things, this
was and still is a major contributor to our community. Though thankless at times, it did not discourage
him from pushing forward to accomplish the organization’s mission.

Though | was always in touch with Zev through his various business ventures, when he started MiragelD,
| stayed even closer to him. At some point in 2020 we sat down and looked on his projection and |
agreed to lend the business [J After that | lent the business another[land then another
This was totally unsecured debt and | had little recourse if the loan was not paid back- but | trusted that |
would be made whole. To that point, | never invested with my clients, much less a pro bono client, but |
was willing to lend repeatedly because | had faith in Zev, and more than that, trusted him to do the right
thing. Given Zev’s dedication, first to the Star-K an non-profit, and TAG, another non-profit, | felt that he
should have every opportunity in the world to be able to provide for his family financially and this was a
way fo get there.

As was our entire community, | was shocked to learn about the charges brought up against Zev, given
how | know him. | have confidence in the legal system overall and | hope that Zev gets his due justice. |
hope that the court will consider Zev's sterling character, dedication to community betterment and afford
him any benefit of the doubt in his case.

igeration. Sincerely,

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June 27, 2023
To the Horvorable Court:

We have known Mr, Zev Steen since before 2001. Our families were together in
2001 ina Boy Scovt summer camp, Camp Kunatah/Camp Kesher on the Ten Mile
River Scout Reservation, in Narrowsburp, NY. | was the Rabbinical Advisor of the
camp and iny wile was the Registered Nurse for the camp some of the summers.
Mo. Steen was an assistant to the Scoutmaster. Three of our sons were campers in
the program. He was a valuable staff member, assisting in organizing the
pregramming and teaching new skills to the campers. He contributed a positive
enerzy to the carp experience, always willing to help with whatever needed to be
dong in camp with a choerful demeanor,

Mr. Steen aso voluntarily helped one of cur sons when he was trying to complete
the requirements for Eagle Scout. Mr. Steen was always helpful and encouraging
for our song in their developing to be honest and upright young men.

Rabbi Yirmiyahu Benyowitz Mrs. Esther Miriam Benyowitz“RN
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Rabbi Aaron Tendler

February 4", 2024
To The Honorable Court

1am writing this letter on behalf of William Zev Steen, a former student, colleague, and advisor
of mine.

Approximately 30 years ago, Zev joined our high school, the Israel Henry Beren High School,
where | serve as a dormitory supervisor, guidance counselor, and teacher. Zev displayed unusual maturity
for a teenager at that time, and there never were any disciplinary issues with him: Hé Was well liked by
his teachers and peers, and was an exemplary student in all ways. He was ready to help others and the
school when called upon, and often taking the initiative to do so even before being called upon.

Upon his graduation from our school, and subsequently attending college and joining the
workforce, | was please to see that Zev used his intellect and talents in helping our local Baltimore
community. As someone involved in the community as well, we crossed paths and each time it was my
pleasure to interact with him on various community projects, most notable relating to the private
' schools in our city. As such, | do consider Zev a colleague.

Finally, more recently, in his capacity as director of TAG Baltimore, an organization providing
resources for digital awareness and solutions in our community, | personally benefited from Zev’s
expertise in this field, to enable me to filter and format my own computer and digital devices and enable
them to be used safely. Zev provided professional assistance, both in terms of his knowledge of the field,
and in terms of his customer service. As such, he has served as an advisor to me, and | am forever
grateful for the assistance he has provided myself and the organizations with which | am affiliated.

| would like to state that in all my interactions with William Zev Steen over the past
(approximately) 30 years, | have had no reason to believe that he would in any way be in the situation in
which he finds himself today, i.e. being charged with any crimes at all, let alone the type of crime for
which you are considering sentencing him for. | am certain that this is not indicative of Zev’s character,
and am also certain that he will never engage in such activities again. As such, | would like to ask the
Honorable Court to please judge him with leniency. Sentencing him to an extended incarceration will not
be of any benefit to society in this case, and will only cause harsh consequences to Zev and his family.

Thank you for your consideration of this lett

Rabbi Aaron Tendler
Rabbi, Owings Mills Torah Center

Assistant Dean of Students, Israel Henry Beren High School
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Tuesday, July 4, 2023

The Honorable Court,

I have considered Zev William Steen a dear friend since high school. We attended Ner Israel high
school in Baltimore and hit it off almost from the start of 9" grade. He was an ‘out-of-town’ kid from
New Haven, Connecticut, with no family in Baltimore; I lived locally, and he even stayed with my
family some weekends when we had off. I recall hiking together through the woods surrounding Ner
Israel or talking over lunch in the cafeteria, We attended the Ner Israel together through three years
of college. I spent my fourth year studying abroad in Israel. While in Israel, my mother, of blessed
memory, called me with an interesting proposal; she wanted to know how I felt about Zev marrying

my sister! They were married a few months later.

Zev was always a sensitive person who listened and tried to make everyone around him feel
comfortable. Through our years together in Ner Israel, there were always younger students with
needs that gravitated to his largesse: whether for emotional or scholastic support, and he befriended

them and made them feel wanted, giving up from his free time to tutor or just a listening ear.

After marriage, their house remained a beacon of giving and kindness. There was a single disabled
mother in a wheelchair with three little kids he tutored and drove to activities until they grew old
enough to be self-sufficient. Their house was always open, and on Saturdays, you could often find

friends visiting just to unload in a congenial, accepting atmosphere.

Internet safety awareness was his pet project, and he would speak about it in schools and for
organizations. He helped establish TAG (Technology Awareness Group) and volunteered many hours

to mentor parents on safe technology habits for kids.

Zev was naturally tech-savvy and would gladly share his knowledge with others. Many people in the
neighborhood have received his help setting up phones, printers, etc.- gratis with a warm smile. I
could list many occasions where he assisted me or others in this way and was always
accommodating. For example, he helped my wife dub CDs for her classroom, use their printer when

ours was down, or show me how to do things on the computer.

Zev William Steen is a caring, vibrant community member who looks for opportunities to help others

whenever possible.

Benjamin Paige
